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            EXHIBIT 3
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                                                                           Page 1
 1

 2   HIGHLY CONFIDENTIAL-ATTORNEYS EYES ONLY
 3      IN THE UNITED STATES DISTRICT COURT
 4       FOR THE DISTRICT OF MASSACHUSETTS
 5      Civil Action No:          1:14-cv-14176-ADB
     ----------------------------X
 6

     STUDENTS FOR FAIR ADMISSIONS,
 7   INC.,
 8                             Plaintiff,
 9              v.
10   PRESIDENT AND FELLOWS OF
     HARVARD COLLEGE
11   (HARVARD CORPORATION),
12                             Defendant.
13   -----------------------------X
14               VIDEOTAPED DEPOSITION OF
15                   DAVID CARD, Ph.D.
16                    Washington, DC
17                    April 27, 2018
18                         9:07 AM
19

20

21   Reported by:
22   Karen Brynteson, RMR, CRR, FAPR
23   Job No. 139809
24

25


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                                                                          Page 27
 1                          D. Card
 2                 MS. ELLSWORTH:              Object to the
 3        form.
 4                 THE WITNESS:            I have read the
 5        phrase, and I have some
 6        understanding of it.
 7   BY MR. STRAWBRIDGE:
 8        Q.       You're aware that that's --
 9   that's -- that's the phrase that Harvard
10   applied to its own admissions process, I
11   assume?
12        A.       I am, yes.
13        Q.       Okay.      Have you written any
14   papers that actually analyze the -- the
15   extent to which various factors play a
16   role in admission under a holistic
17   admissions process?
18        A.       Well, if one interprets
19   holistic to mean evaluating different
20   characteristics of students, potentially,
21   I studied that indirectly, but I have not
22   written any papers, I believe, that would
23   use the word holistic admissions in them.
24        Q.       Have you looked at -- have you
25   written any papers that are specific to

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                                                                          Page 28
 1                           D. Card
 2   the question of how race affects college
 3   admissions decisions by universities?
 4                 MS. ELLSWORTH:                Object to the
 5         form.
 6                 THE WITNESS:              I have written a
 7         paper on the effect of ending
 8         affirmative action policies in
 9         Texas and California on the
10         probabilities that students send
11         their SATs to different colleges,
12         which would indirectly affect that,
13         what colleges can do, I guess.
14   BY MR. STRAWBRIDGE:
15         Q.      Am I right that that paper was
16   about basically analyzing applicant
17   behavior?
18         A.      Yes.
19         Q.      It wasn't -- it wasn't about
20   analyzing what colleges did with those
21   applications once they were received, was
22   it?
23         A.      Well, indirectly.                   There are
24   -- there are figures and tables in that
25   paper which show the changes in admission

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                                                                          Page 29
 1                            D. Card
 2   rates of different groups.                      So it has
 3   evidence on that.
 4        Q.       Did you -- did you purport in
 5   that paper to analyze the strength of
 6   various factors that were actually used
 7   by the Admissions Department in deciding
 8   who to admit and who to reject?
 9        A.       Well, indirectly I -- I guess
10   it does show that because it has changes
11   in admission rates of different racial
12   groups as a result of the end of
13   affirmative action policies.
14        Q.       Did you build a multivariate
15   logit model to analyze the admissions
16   processes for the universities that were
17   the subject of that study?
18        A.       No.
19        Q.       You just basically reported
20   how the -- how the rates of -- the
21   admission rates of various groups changed
22   in two different periods of time?
23        A.       Among other things, yeah.
24        Q.       What else?
25        A.       Well, there was many

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                                                                           Page 30
 1                             D. Card
 2     institutions involved and there was
 3     multiple periods before and after.
 4           Q.      But until this case, I guess
 5     what I'm getting at, is have you ever
 6     been involved in the creation of a -- of
 7     a -- of a multivariate logit model to
 8     estimate the effects of factors on
 9     college admissions decisions?
10           A.      I don't believe so, no.
11           Q.      On -- have -- and I guess
12     because my earlier questions were about
13     papers you have written, I assume that
14     your answer that you haven't built that
15     kind of a model to measure the effect on
16     college admissions of various factors
17     necessarily means you haven't published
18     any papers on that question either?
19                   MS. ELLSWORTH:                 Object to the
20           form.
21                   THE WITNESS:             Well, if I
22           haven't written them, they haven't
23           published them, yes, that's
24           correct.
25   BY MR. STRAWBRIDGE:

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                                                                          Page 47
 1                          D. Card
 2   should exclude any other variables based
 3   on the potential that race was affecting
 4   them?
 5         A.      I -- when I was finishing my
 6   -- in the process of trying to finish my
 7   rebuttal report, it was very clear that
 8   there were a number of disagreements
 9   between Professor Arcidiacono and me on a
10   couple of issues.
11                 And so I -- I was able to ask
12   Dean Fitzsimmons directly in a telephone
13   conversation if race was involved in the
14   personal rating, for example, and he said
15   no.
16         Q.      Did you do anything to verify
17   his testimony?
18                 MS. ELLSWORTH:              Object to the
19         form.
20                 THE WITNESS:            No.
21   BY MR. STRAWBRIDGE:
22         Q.      You're familiar with what it
23   means to interact a variable in the
24   multivariate logit model?
25         A.      In general terms, yes.

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                                                                          Page 53
 1                           D. Card
 2   a difference in a model?
 3                 MS. ELLSWORTH:                Sorry.          Object
 4        to the form.
 5                 THE WITNESS:              Well, I think I
 6        just showed that it does make a
 7        small difference.                So I think
 8        that's self-evident from what I
 9        just said.
10   BY MR. STRAWBRIDGE:
11        Q.       You and Professor Arcidiacono,
12   I think you just acknowledged, you made
13   some adjustments to your models after
14   reviewing each others' reports in this
15   case?
16        A.       Yes.
17        Q.       Okay.       For example, in your
18   rebuttal report you adopted Professor
19   Arcidiacono's ratings methodology?
20        A.       Yes.
21        Q.       That had the effect of
22   dropping many, but not all, of the
23   perfect predictions from your model?
24        A.       Yes.
25        Q.       Do you know about how many

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                                                                          Page 54
 1                          D. Card
 2   perfect predictions are still in your
 3   model, even after making that change?
 4        A.       No, not precisely.                  There is
 5   some perfect predictions that are perfect
 6   predict admits, so some people who would
 7   be predicted to get in with 100 percent
 8   probability, and there is some who would
 9   be predicted to not get in with
10   100 percent probability.
11        Q.       Do you know what the relative
12   breakdown is between the perfect predicts
13   of admission and the perfect predicts of
14   rejection?
15                 MS. ELLSWORTH:              Object to the
16        form.
17                 THE WITNESS:            Not precisely,
18        no.
19                 (Card Deposition Exhibit 7,
20   New Hard Models printout, was marked
21   for identification.)
22   BY MR. STRAWBRIDGE:
23        Q.       I have handed you what has
24   been marked as Exhibit 7.                 I will
25   represent to you that this is information

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                                                                           Page 55
 1                           D. Card
 2   that's taken from your workpaper that
 3   just shows the number of perfect
 4   predictions both for admits and rejects
 5   in your new model versus your old model.
 6                 And I will also note for the
 7   record, and apologize that this should
 8   have been printed landscape form, so you
 9   kind of have to tear the two pages apart
10   and hold them next to each other to read
11   the exhibit.
12                 If you flip over, if you are
13   looking for the final in the old models,
14   you have to flip over the page.
15         A.      Okay.
16         Q.      Sorry about that.                  Do you have
17   any reason to doubt that these numbers
18   accurately reflect the number of perfect
19   predictions in your models?
20         A.      If it is accurately taken from
21   my workpaper, then it is correct, yeah.
22         Q.      I will represent that it has
23   been.
24         A.      Okay.
25         Q.      Certainly if that's wrong, I'm

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                                                                           Page 56
 1                           D. Card
 2   sure the folks on the other side of the
 3   table will let us know.
 4                 But this indicates that for
 5   the old models that you used, that a
 6   number of perfect predictions was 29,445
 7   perfect predictions of reject; is that
 8   right?
 9         A.      Right.
10         Q.      And 527 perfect predictions of
11   admit?
12         A.      Correct.
13         Q.      And in the new model, the
14   number of perfect predictions of reject
15   is 5,675?
16         A.      Yes.
17         Q.      And the number of perfect
18   predictions of admit is one.
19         A.      Right.
20         Q.      So that shows that the vast
21   majority of perfect predictions both in
22   your old model and in your new model, if
23   this is accurate, were for rejects,
24   correct?
25         A.      Correct.

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                                                                           Page 57
 1                           D. Card
 2         Q.      You also updated your model to
 3   incorporate the activity variables for
 4   extracurricular activities that Professor
 5   Arcidiacono used?
 6         A.      In one of the robustness
 7   analysis, I did, I used his preferred
 8   measures, yes.        This would be Exhibit 16
 9   of my rebuttal report.
10         Q.      And is it your testimony that
11   that adjustment is -- is in your new
12   preferred model or only for one of the
13   robustness models?
14                 MS. ELLSWORTH:               Object to the
15         form.
16                 THE WITNESS:             I believe that
17         the full set of his preferred
18         specification is -- is in
19         Exhibit 16, his robustness
20         analysis.
21   BY MR. STRAWBRIDGE:
22         Q.      Did -- do any -- strike that.
23                 Professor Arcidiacono's models
24   in both his first report and his second
25   report include two different samples,

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                                                                            Page 63
 1                              D. Card
 2           any difference for the statistical
 3           analysis, so.
 4   BY MR. STRAWBRIDGE:
 5           Q.       And athletes is the only group
 6     that you do that for?
 7           A.       Yes.
 8           Q.       Okay.      And the reason why, and
 9     I guess you say it right -- right --
10     right here in footnote 97, that your
11     understanding is that recruited athletes
12     are part of the same admissions process
13     as all other applicants.                  Is that
14     correct?
15           A.       Yes.
16           Q.       I'm sorry, before we go there,
17     let me just ask:          Other than this model
18     that you are referencing in footnote 97,
19     you don't do any other modeling in either
20     of your reports that looks separately at
21     the non-ALDC population from the ALDC
22     population?
23           A.       No, because as I explain in my
24     original report and, again, in my
25     rebuttal report, I believe that there is

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                                                                           Page 64
 1                           D. Card
 2   a variety of evidence from the
 3   documentary -- or from the evidence from
 4   the depositions and from the other
 5   sources, including my direct query to the
 6   dean by telephone.
 7                 But also there is a question
 8   that was asked that shows up on a web
 9   site, asking about whether athletes at
10   Harvard are part of the regular
11   admissions process.
12                 Anyway, my understanding is
13   that these four groups are all part of
14   the regular admissions process.
15         Q.      And when you say on the web
16   site, whose web site do you mean?
17         A.      I believe it was on the
18   Harvard admissions web site.
19         Q.      And the dean himself told you
20   that they are part of the regular
21   admissions process?
22                 MS. ELLSWORTH:               Object to the
23         form.
24                 THE WITNESS:             I asked him if
25         they were.        He said they were.

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                                                                           Page 99
 1                           D. Card
 2         Q.      And from that baseline, you
 3   then do a number of simulations that
 4   analyze the effect of various
 5   race-neutral alternatives, correct?
 6         A.      Correct.         I do the kind of
 7   simulations that have been done in the
 8   literature before and that Professor
 9   Arcidiacono performs for Mr. Kahlenberg
10   as well, yeah.
11         Q.      And, in fact, your method
12   closely follows that used by Mr.
13   Kahlenberg, assisted by Professor
14   Arcidiacono.      Right?
15         A.      Right, but this is a method
16   that is pretty standard in the literature
17   and was used by several of the other
18   papers in the area.
19         Q.      There were two key
20   differences, I think, between your
21   approach with -- between your approach
22   and those of Mr. Kahlenberg's, at least
23   in your initial report?
24                 MS. ELLSWORTH:               Object to the
25         form.

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                                                                      Page 123
 1                           D. Card
 2         Q.      But in your -- I guess I just
 3   -- I just want to understand.                      You're on
 4   record as saying that this doesn't, this
 5   simulation, does a poor job of generating
 6   racial diversity.
 7                 Do you think it does a poor
 8   job of generating socioeconomic
 9   diversity?
10                 MS. ELLSWORTH:               Objection.
11                 THE WITNESS:             Well, the
12         difference is that these are the
13         categories of race that I'm using
14         in this analysis.
15                 Now, there are other
16         categories of race, but -- and
17         other ways of counting, for
18         example, who is Asian American or
19         who is African American.
20                 But in socioeconomic
21         diversity, for instance, I have, in
22         my preferred specification of the
23         model, I would like to take account
24         of, in the admissions process, I
25         would really like to take account

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                                                                       Page 124
 1                              D. Card
 2           of parental occupation.                     You might
 3           also want to take account of
 4           parental education.
 5                    So socioeconomic status is a
 6           very, very broad category, very
 7           important for understanding things.
 8                    These are the categories that
 9           I was able to come up with quickly,
10           but -- in this analysis, come up
11           with in this analysis, but you
12           could -- I would be reluctant to
13           make an assessment of socioeconomic
14           diversity just on these four
15           numbers.
16   BY MR. STRAWBRIDGE:
17           Q.       So basically the size of the
18     increases here are not sufficient to
19     convince you that this scenario does a
20     good job of increasing socioeconomic
21     diversity?
22                    MS. ELLSWORTH:                 Objection,
23           asked and answered.
24   BY MR. STRAWBRIDGE:
25           Q.       That's your testimony?

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                                                                      Page 147
 1                           D. Card
 2   BY MR. STRAWBRIDGE:
 3         Q.      And, again, I'm just staying
 4   in paragraph 192.
 5         A.      He eliminates the preferences,
 6   yeah, and he changes the -- the four SES
 7   characteristics slightly.
 8         Q.      Right.       And you determined
 9   that these simulations, you know, as he
10   -- as he -- as he makes those
11   adjustments, are insufficient because the
12   race-neutral alternative "produces a
13   class that is different from the current
14   class in the dimensions I understand
15   Harvard cares about."
16                 That's in paragraph 195,
17   correct?
18         A.      Yes, that's what I say, yes.
19         Q.      All right.           So looking at the
20   Exhibit 26 in your report.
21         A.      Okay.
22         Q.      Which differences in your view
23   render this as insufficient because it
24   produces a class that is different from
25   the current class in dimensions that you

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                                                                      Page 152
 1                           D. Card
 2         Q.      It's 26 percent compared to
 3   the 30 percent drop that you termed as
 4   dramatic, correct?
 5         A.      Right.
 6         Q.      But, again, do you -- do you
 7   have a -- do you have any understanding
 8   of what difference would be acceptable to
 9   Harvard, even if it were a decline in any
10   of these racial categories?
11                 MS. ELLSWORTH:               Object to the
12         form.
13                 THE WITNESS:             No.
14   BY MR. STRAWBRIDGE:
15         Q.      And you don't have a personal
16   understanding as to what you think is an
17   acceptable or not acceptable decline for
18   purposes of a race-neutral alternative?
19                 MS. ELLSWORTH:               Object to the
20         form.
21                 THE WITNESS:             No.
22   BY MR. STRAWBRIDGE:
23         Q.      Did the committee tell you
24   that an African American class that
25   represents 10 percent of the admitted

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                                                                      Page 180
 1                           D. Card
 2   table?
 3         A.      So if we look in my Exhibit
 4   13.
 5         Q.      Your Exhibit 13?
 6         A.      Um-hum.        We can see how
 7   starting with -- with my model at the
 8   bottom, now this is -- already I'm
 9   including ALDCs in my analysis, how the
10   effect of interactions and personal
11   rating and so on, of parental occupation,
12   changes the -- changes the coefficients
13   in my model and gets you from my model to
14   Professor Arcidiacono's model.
15         Q.      Right.       Do you actually cite
16   Table 4.2N anywhere in your rebuttal
17   report?
18         A.      I can't say for sure I do cite
19   that table directly, but I cite or
20   address each of the issues, I think, that
21   he is trying to address here.
22         Q.      Setting aside the
23   disagreements that I know you have with
24   Professor Arcidiacono about his modeling
25   choices, anywhere in your expert report

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                                                                      Page 181
 1                           D. Card
 2   do you challenge the calculations on
 3   Table 4.2N?
 4                 MS. ELLSWORTH:               Object to the
 5         form.
 6                 THE WITNESS:             So, in other
 7         words, you're asking me if we took
 8         what Professor Arcidiacono says is
 9         his model and estimated it the way
10         he says he's doing it here, you
11         would get these numbers?
12   BY MR. STRAWBRIDGE:
13         Q.      Right.
14         A.      Yes, I believe that's correct.
15         Q.      I mean, do you think he is
16   misstating his model?              Not -- not do you
17   disagree with his modeling decisions, but
18   do you think he is not actually
19   reflecting -- do you think his
20   calculations somehow reflect a
21   misunderstanding of his own model?
22                 MS. ELLSWORTH:               Object to the
23         form.
24                 THE WITNESS:             Well, this is
25         not his model.           This is his

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                                                                         Page 182
 1                           D. Card
 2         adjustments to my model in my
 3         original report.
 4   BY MR. STRAWBRIDGE:
 5         Q.      Thank you.           Thank you.              That's
 6   correct.     So I guess my question is do
 7   you think he is misstating your -- you
 8   referred to his understanding of the
 9   model.     Like I guess my question is do
10   you think that, setting aside the
11   modeling choices, there's something in
12   here that makes the calculations
13   incorrect because he is not accurately
14   reflecting the data that underlies your
15   model?
16         A.      I think these calculations are
17   correct.     I would have to read carefully
18   to understand if these -- if his row
19   descriptions are a complete description
20   of everything he has done, but my
21   understanding, for example, row 1, tells
22   us that right from the beginning, this is
23   different than my -- the model in my
24   original report because he has excluded
25   the ALDCs.      And then row 2 says he is

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                                                                      Page 183
 1                           D. Card
 2   doing interactions and so on.
 3         Q.      Right.        But he didn't -- he
 4   didn't, as far as you know, and I guess
 5   your report doesn't contain any challenge
 6   to the calculations of the numbers that
 7   are reported here?
 8         A.      I don't believe we found any
 9   errors in this, I found any errors in
10   this calculation, no.
11         Q.      Okay.       You mention the fact
12   that you do what you call a robustness
13   analysis.     And that's set forth in
14   Exhibits 14 through 16 of your report or
15   18 of your report, rebuttal report?
16         A.      And sometimes in the footnotes
17   and other places, yes.
18         Q.      Right.        So let me just ask you
19   about Exhibit 13, which you just referred
20   to.
21         A.      Yes.
22         Q.      This is -- this is -- this is
23   a chart in which you purport to
24   demonstrate that if you make adjustments
25   to Professor Arcidiacono's model, it has

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                                                                      Page 216
 1                            D. Card
 2         A.      Yes.
 3         Q.      And that is, in fact, what
 4   this exhibit suggests, correct?
 5         A.      Yes.
 6         Q.      Okay.        Did you ever construct
 7   a model of the personal rating in either
 8   of your reports?
 9         A.      No.
10         Q.      You referred several times to
11   Professor Arcidiacono's model, but you
12   did not do your own model of personal
13   rating, correct?
14         A.      Correct.
15         Q.      And is that because you felt
16   that there was not enough observables in
17   the data to estimate a reliable model of
18   the personal rating?
19         A.      I personally felt like we
20   could use the personal rating and the
21   academic rating and the extracurricular
22   rating as ratings.            We could include the
23   other variables, some of the other
24   variables that go into the determination
25   of those ratings, and that it would be

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                                                                       Page 272
 1                              D. Card
 2   BY MR. STRAWBRIDGE:
 3           Q.       But it could also be because
 4     of racial bias?
 5                    MS. ELLSWORTH:                 Object to the
 6           form.
 7                    THE WITNESS:             Well, I can't
 8           actually rule that out.
 9   BY MR. STRAWBRIDGE:
10           Q.       Can you come up with a logical
11     explanation as to why the essays would
12     explain that difference?
13                    MS. ELLSWORTH:                 Objection.
14                    THE WITNESS:             No.       I haven't
15           really given any thought to that.
16           I -- it's pretty standard in this
17           kind of statistical analysis to
18           have unobserved components and to
19           be carefully thinking about what
20           exactly is missing and how that
21           could potentially play a role, but
22           it's -- in my experience it isn't
23           always useful to speculate much
24           more beyond that, just other than
25           to notice that there are lots of

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                                                                      Page 277
 1                           D. Card
 2   look at is Professor Arcidiacono's model,
 3   correct?
 4         A.      Correct, because I'm -- my
 5   personal view is that we should use the
 6   personal rating, rather than a model of
 7   the personal rating.              You should take the
 8   personal rating as given.
 9         Q.      Because Dean Fitzsimmons told
10   you race doesn't affect it?
11                 MS. ELLSWORTH:                Object to the
12         form.
13                 THE WITNESS:              Well, because
14         among other pieces of evidence in
15         the records, it seems like the
16         general belief is that race is not
17         a component of a personal rating,
18         yeah.
19   BY MR. STRAWBRIDGE:
20         Q.      Do you think that -- do you
21   think that -- do you agree that there is
22   a gap in the personal ratings that white
23   applicants receive versus Asian
24   applicants?
25         A.      Yes.      Well, that's what we

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                                                                      Page 282
 1                         D. Card
 2   incentives of Harvard.
 3                And I disagree with that type
 4   of analysis -- that type of conclusion on
 5   the basis of statistical evidence.
 6                MR. STRAWBRIDGE:                Can we take
 7        a short break?
 8                MS. ELLSWORTH:              Okay.
 9                THE VIDEO OPERATOR:                   The time
10        is 3:13.      We are off the record.
11                (A recess was taken at
12   3:12ï¿½p.m., after which the deposition                               39
13   resumed at 3:28 p.m.)
14                THE VIDEO OPERATOR:                   The time
15        is 3:28.      We are back on the
16        record.
17   BY MR. STRAWBRIDGE:
18        Q.      Do you think that Asian
19   Americans on average have less attractive
20   personal qualities than white applicants
21   in Harvard's application pool?
22                MS. ELLSWORTH:              Objection.
23        Are you asking for a personal
24        opinion?
25                MR. STRAWBRIDGE:                No.

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                                                                      Page 283
 1                           D. Card
 2                 THE WITNESS:             I have no way of
 3         knowing that.
 4   BY MR. STRAWBRIDGE:
 5         Q.      Can you think of -- do you
 6   have any reason to believe that Asian
 7   Americans are not as effervescent as
 8   whites in Harvard's applicant pool?
 9                 MS. ELLSWORTH:               Objection.
10                 THE WITNESS:             I have no way of
11         knowing that.
12   BY MR. STRAWBRIDGE:
13         Q.      So it could be true?
14                 MS. ELLSWORTH:               Objection.
15                 THE WITNESS:             May or may not
16         be true.
17   BY MR. STRAWBRIDGE:
18         Q.      It is one possible explanation
19   for the difference in their personal
20   ratings?
21                 MS. ELLSWORTH:               Object to the
22         form.
23                 THE WITNESS:             Well, if -- if
24         effervescence was, indeed, a
25         significant determinative personal

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                                                                      Page 284
 1                           D. Card
 2         rating conditional on the other
 3         factors then -- and you could
 4         measure effervescence and you found
 5         that, I guess I would -- then I
 6         would say, well, you found that and
 7         I would agree with it, but no one
 8         has done that exercise so I don't
 9         really know what to say.
10   BY MR. STRAWBRIDGE:
11         Q.      Well, someone's assigned
12   personal ratings to all of the
13   applicants?
14         A.      They are, yes.
15         Q.      Right.       So I am just asking,
16   do you -- do you think that an
17   explanation for the gap in the personal
18   ratings between Asian Americans and white
19   applicants is a lack of effervescence in
20   the Asian American pool?
21                 MS. ELLSWORTH:               Object to the
22         form.
23                 THE WITNESS:             I think the --
24         my understanding is that the
25         readers look for something they

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                                                                      Page 285
 1                           D. Card
 2         call personal qualities.                     And I
 3         don't exactly know what those are,
 4         but they -- they talk about that in
 5         some of the materials I've seen.
 6                 And so I think that what I
 7         would probably believe to be true
 8         is that they see slightly fewer
 9         personal qualities conditional on
10         academic qualities.                Again, this is
11         all conditional on academic
12         qualities.
13   BY MR. STRAWBRIDGE:
14         Q.      And why do you think that's
15   the case?
16         A.      I don't know exactly.
17         Q.      Well, you can't rule out the
18   fact that it is racial bias.                     What other
19   explanation could there be for why the
20   white applicants in Harvard's pool
21   receive higher personal ratings than the
22   Asian American applicants?
23                 MS. ELLSWORTH:               Objection.
24                 THE WITNESS:             I don't really
25         -- I haven't really given that any

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                                                                      Page 286
 1                           D. Card
 2         thought directly.
 3   BY MR. STRAWBRIDGE:
 4         Q.      Isn't that the entire question
 5   that we need to answer when we decide
 6   whether the personal ratings should be
 7   included in the model?
 8                 MS. ELLSWORTH:               Object to the
 9         form.
10                 THE WITNESS:             No, not at all,
11         because we see a difference between
12         Asian applicants and white
13         applicants in their extracurricular
14         rating and their academic rating,
15         statistically significant positive
16         gap.
17                 I don't think that -- and, in
18         fact, I would never conclude that
19         that means that there is positive
20         racial bias in favor of Asian
21         applicants.         So the presence of a
22         significant coefficient doesn't say
23         that there is a racial animus
24         against whites in the assignment of
25         academic credentials.

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                                                                            Page 289
 1                           D. Card
 2   break, one question would be:                      Do Asian
 3   Americans as a whole have higher or lower
 4   or the same personal qualities as, say,
 5   white Americans?
 6                 But that's not really what's
 7   relevant for my statistical model.                             And I
 8   -- my interpretation of how someone might
 9   answer that would be they might be
10   thinking, well, as a whole, they are the
11   same, but when I'm assigning the personal
12   rating, what's relevant is I have got
13   some of these characteristics that I can
14   see, and some that I can't.                    There is a
15   deficit on some of the ones that I can't
16   see.
17                 So that could contribute to a
18   negative coefficient for Asians in that
19   assignment, just as there must be some or
20   there -- my interpretation is there must
21   be some unobserved characteristics of the
22   academic credentials of Asian Americans,
23   conditional on this broad set of other
24   academic qualities that we can observe in
25   the data and that Professor Arcidiacono

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                                                                      Page 310
 1                            D. Card
 2         A.      Let me look at my -- the
 3   appendix -- you don't have tabs on
 4   appendices here, so I am having a little
 5   bit of trouble finding the right tabs.
 6         Q.      If I told you it was 46, does
 7   that number sound more or less correct?
 8         A.      46 per year?
 9         Q.      46 parental occupations.
10         A.      It seems to show in my
11   Exhibit 28 of my -- of my rebuttal report
12   that there is 28 categories -- 23
13   categories, excuse me.
14         Q.      23 categories for fathers,
15   right?
16         A.      Yes.
17         Q.      And 23 categories for mothers?
18         A.      Yes.
19         Q.      So that's 46, right?
20         A.      Correct.          And then there is
21   one omitted for each.
22         Q.      So 47?
23         A.      44.
24         Q.      48?
25         A.      44.

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                                                                      Page 315
 1                           D. Card
 2   prevent them from performing a stronger
 3   role as they would in the model, if I had
 4   some measures that did not have that
 5   misclassification error.
 6         Q.      We discussed this earlier, but
 7   I just want to make sure I understand.
 8   When you were deciding to put the
 9   parental occupations in, did you test for
10   statistical significance?
11         A.      I'm not entirely sure of
12   whether, at what stage of the analysis
13   that kind of exercise would have been
14   done, so I can't say for sure.
15         Q.      You don't dispute that some of
16   the parental occupation categories vary
17   substantially from year to year?
18                 MS. ELLSWORTH:               Object to the
19         form.
20                 THE WITNESS:             I don't dispute
21         that, for example, the category
22         unemployed disappears in some
23         years, and so one of the reasons --
24         or is much less frequent in some
25         years.

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                                                                       Page 320
 1                               D. Card
 2     for each race, your model?
 3           A.       No.
 4           Q.       None of that is disclosed
 5     anywhere in your report, I take it?
 6           A.       That I --
 7           Q.       There is no -- there is no
 8     such estimations disclosed anywhere in
 9     your report?
10                    MS. ELLSWORTH:                 Object to the
11           form.
12   BY MR. STRAWBRIDGE:
13           Q.       If you didn't do it, you
14     couldn't put it in your report?
15           A.       I believe that would be true.
16           Q.       It's not a trick question.
17     It's just late in the day.
18                    Can you turn to Table 5.1N of
19     Mr. Arcidiacono's rebuttal report.
20           A.       Would this be in the text or
21     in the appendix?
22           Q.       It is page 47 of the report.
23           A.       Okay.
24           Q.       Did you in your rebuttal
25     report disclose any -- any dispute with

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                                                                         Page 321
 1                               D. Card
 2     the calculations on this table?
 3           A.       No, I don't think so.                        No.
 4           Q.       Is it also true with respect
 5     to Table 5.2N, which is on page 50?
 6           A.       I agree with the calculations
 7     underlying this table, yeah.
 8           Q.       And is that also true with
 9     respect to 5.3N?
10                    MS. ELLSWORTH:                 What is the
11           question exactly?
12   BY MR. STRAWBRIDGE:
13           Q.       Does he have any dispute with
14     those calculations?
15                    MS. ELLSWORTH:                 Just want to
16           know if there is any dispute --
17                    THE WITNESS:               I do have a
18           dispute with the calculation in
19           Table 5.3N, yes.
20   BY MR. STRAWBRIDGE:
21           Q.       Did you disclose that dispute
22     in your rebuttal report?
23           A.       No.
24           Q.       What is your dispute?
25           A.       Well, this gets to a question

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                                                                       Page 370
 1                               D. Card
 2           A.       Oh.      Yes.
 3           Q.       So you conclude that the --
 4     that given the years that you just
 5     described and the different racial
 6     categories, that the actual probability
 7     of seeing a pattern over a three-year
 8     period is about 17 percent?
 9           A.       Assuming for the sake of
10     simplicity that there's a 0.2 chance that
11     the group's average rate matches the
12     average admission rate for other
13     applicants, so that would be the same
14     kind of calculation that he does, so
15     assume that number, then take the 92
16     combinations, that's what I did.
17           Q.       You earlier said you didn't
18     challenge that number, you hadn't
19     challenged that calculation?
20                    MS. ELLSWORTH:                 Object to the
21           form.
22                    THE WITNESS:               That 0.2 is his
23           calculation, yes.
24   BY MR. STRAWBRIDGE:
25           Q.       The -- your calculation

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                                                                       Page 371
 1                              D. Card
 2     assumes that each of those outcomes is
 3     independent with one another?
 4           A.       Yes.
 5           Q.       Is that true?
 6           A.       It would not be exactly true.
 7     It would be -- it might be approximately
 8     true, depending on the race group you are
 9     thinking of.
10           Q.       What makes something
11     "approximately true"?
12           A.       Well, the actual calculation
13     for the permutations, I didn't try and
14     do.   I tried to do a simplified
15     calculation.       That's what I have done
16     here.
17           Q.       For example, you would agree,
18     right, that the Hispanic methodology
19     between IPEDS and the new methodology
20     does not differ?
21                    MS. ELLSWORTH:                 Object to the
22           form.
23                    THE WITNESS:             No, I would
24           disagree with that.
25   BY MR. STRAWBRIDGE:

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                                                                       Page 378
 1                              D. Card
 2     one-pagers -- do you know what I mean by
 3     a one-pager?
 4           A.       I have a vague understanding
 5     of what that is, yeah.
 6           Q.       Have you seen any one-pagers
 7     prepared by the admissions office during
 8     the committee meeting process listing
 9     IPED statistics before January 2013?
10                    MS. ELLSWORTH:                 Object to the
11           form.
12                    THE WITNESS:             Repeat the
13           question again?
14   BY MR. STRAWBRIDGE:
15           Q.       Have you seen a one-pager
16     prepared by the admissions office during
17     the committee meeting process that lists
18     the IPED statistics prior to January
19     2013?
20                    MS. ELLSWORTH:                 Object to the
21           form.
22                    THE WITNESS:             I have -- I have
23           only seen a couple of these forms,
24           and so I can't say I have done an
25           exhaustive search.                I was never

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                                                                       Page 379
 1                              D. Card
 2           searching for that.                 But I don't
 3           believe I would have seen that.
 4                    I believe the forms I looked
 5           at are the ones that are referred
 6           to in Professor Arcidiacono's
 7           report.
 8   BY MR. STRAWBRIDGE:
 9           Q.       And you also referred to some
10     in some documents in your report, right?
11           A.       I did.
12           Q.       Have you -- did you see
13     Professor Arcidiacono's note that the
14     IPEDS' number was stored differently in
15     the admissions database as it was
16     produced to him before the 2017
17     admissions cycle versus after?
18           A.       I believe that there is a
19     different field that it is captured in,
20     that's right.
21           Q.       And your report doesn't
22     challenge the -- that statement in
23     Professor Arcidiacono's report?
24                    MS. ELLSWORTH:                 Objection to
25           form.

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                                                                            Page 380
 1                              D. Card
 2                    THE WITNESS:             I don't know
 3           whether that field existed before,
 4           but that's my understanding.                            That
 5           information has to be obtained from
 6           a different field.
 7   BY MR. STRAWBRIDGE:
 8           Q.       You noted that there was a
 9     calculation error in calculating the
10     standard error of his double difference
11     in chart 2.6N in your rebuttal report?
12           A.       Yes.
13           Q.       He has acknowledged that
14     error?
15           A.       Yes.
16           Q.       I will go ahead and mark the
17     supplemental report.
18                    (Card Deposition Exhibit
19     14, Errata to Rebuttal Expert Report of
20     Peter S. Arcidiacono, was marked for
21     identification.)
22                    THE WITNESS:             Yes.
23   BY MR. STRAWBRIDGE:
24           Q.       Do you dispute the math for
25     his new calculation for standard error?

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                                                                      Page 387
 1   NAME OF CASE:
 2   DATE OF DEPOSITION:
 3   NAME OF WITNESS:
 4   Reason Codes:
 5         1.   To clarify the record.
 6         2.   To conform to the facts.
 7         3.   To correct transcription errors.
 8   Page ______ Line ______ Reason ______
 9   From _____________________ to _____________________
10   Page ______ Line ______ Reason ______
11   From _____________________ to _____________________
12   Page ______ Line ______ Reason ______
13   From _____________________ to _____________________
14   Page ______ Line ______ Reason ______
15   From _____________________ to _____________________
16   Page ______ Line ______ Reason ______
17   From _____________________ to _____________________
18   Page ______ Line ______ Reason ______
19   From _____________________ to _____________________
20   Page ______ Line ______ Reason ______
21   From _____________________ to _____________________
22   Page ______ Line ______ Reason ______
23   From _____________________ to _____________________
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25                                              ________________________

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    '$7(2)'(326,7,21April 27, 2018
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    5HDVRQ&RGHV
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   )URPBBBBBBBBBBBBBBBBBBBBBWRBBBBBBBBBBBBBBBBBBBBB
   3DJHBBBBBB/LQHBBBBBB5HDVRQBBBBBB
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    Page        Line       Instruction                                    Reason for Change
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                           ZDVWKDWFKLOGUHQIURP±IURPEODFNDQG
                           +LVSDQLFIDPLOLHVZHUH±RIKLJK
                           DFDGHPLFDELOLW\±ZHUH´WR³:KDWZH
                           ZHUHVKRZLQJZDVWKDWFKLOGUHQRIKLJK
                           DFDGHPLFDELOLW\IURPEODFNDQG+LVSDQLF
                           IDPLOLHVZHUH´
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                           &DUG0RGHOV´
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                           ³PRGHOZDVILWSRROLQJ´
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                           SRLQWV´
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                           RUDVD´WR³VKHLVXVLQJD´
                     &KDQJH³VHOHFWLYLW\PDWULF´WR                0LVWUDQVFULSWLRQ
                           ³VHOHFWLYLW\PDWUL[´
                     &KDQJH³VRPHPRUH´WR³VLPLODU´               0LVWUDQVFULSWLRQ
                    &KDQJH³DWWHQWLRQWRWKHFRPPLWWHH´WR        &ODULILFDWLRQ
                           ³DWWHQWLRQRIWKHFRPPLWWHH´
                    &KDQJH³WKDWWKDW¶V´WR³WKDW´                &ODULILFDWLRQ
                     &KDQJH³UDWLQJVFRUHVDQGWKH±DQGWKH´      &ODULILFDWLRQ
                           WR³UDWLQJVFRUHVDQGQRWWKH´
                     &KDQJH³RUGHUSURELW´WR³RUGHUHGORJLW´      &ODULILFDWLRQ
                     &KDQJH³LQGH[HV´WR³LQGLFHV´                 0LVWUDQVFULSWLRQ
                     &KDQJH³FRHIILFLHQWV´WR³SRVLWLYH            &ODULILFDWLRQ
                           FRHIILFLHQWV´
                    'HOHWH³VRUWRI´                              &ODULILFDWLRQ

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                   &KDQJH³RIFRPSOLFDWHGYDULDEOH´WR³RI   &ODULILFDWLRQ
                         DFRPSOLFDWHGYDULDEOH´
                  &KDQJH³REVHUYDEOH´WR³XQREVHUYDEOH´     &ODULILFDWLRQ
                   &KDQJH³,3('6¶´WR³,3('6´                3XQFWXDWLRQ
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